Case 3:19-cv-00764-X Document 145 Filed 08/27/19   Page 1 of 29 PageID 3985


                       UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF TEXAS
                             DALLAS DIVISION

VEROBLUE FARMS USA, INC.,              §
   Plaintiff,                          §
                                       §
 v.                                    §     CIVIL ACTION NO. 3:19-CV-00764-L
                                       §
LESLIE A. WULF, BRUCE A. HALL, JAMES   §
REA, JOHN REA, and KEITH DRIVER,       §
   Defendants/Counter-Plaintiffs,      §




      THIRD-PARTY DEFENDANT BJORN THELANDER’S MOTION TO DISMISS
         THIRD-PARTY CLAIMS PURSUANT TO RULES 12(B)(2) & 12(B)(6)
                         & BRIEF IN SUPPORT
     Case 3:19-cv-00764-X Document 145 Filed 08/27/19                                          Page 2 of 29 PageID 3986


                                                 TABLE OF CONTENTS

I.       INTRODUCTION ...............................................................................................................1
II.      FACTUAL AND PROCEDURAL BACKGROUND.........................................................2
III.     RELEVANT LEGAL STANDARDS .................................................................................4
         A.        Rule 12(b)(2) Motion to Dismiss Standard..............................................................4
         B.        Rule 12(b)(6) Motion to Dismiss Standard..............................................................5
IV.      ARGUMENTS AND AUTHORITIES................................................................................6
         A.        The Court lacks personal jurisdiction over Thelander. ............................................6
                   1.         Third-Party Plaintiffs have not established general jurisdiction over
                              Thelander. ....................................................................................................7
                   2.         Third-Party Plaintiffs have not established specific jurisdiction over
                              Thelander. ....................................................................................................7
         B.        The Third-Party Plaintiffs fail to allege sufficient facts to state a tortious-
                   interference claim.....................................................................................................9
                   1.         As a director of VBF, Thelander cannot tortiously interfere with the
                              Termination Agreements to which VBF was a party.................................10
                   2.         VBF was exercising its rights under the Termination Agreements. ..........13
                   3.         All claims against VBF have been discharged, released, and
                              enjoined. .....................................................................................................15
                   4.         There are no allegations that Thelander actively persuaded VBF to
                              breach the Termination Agreements. .........................................................16
                   5.         Counts 1 and 2 fail as a matter of law because attorneys’ fees cannot
                              be awarded as actual damages for tortious interference. ...........................18
                   6.         The claims for attorneys’ fees fail as a matter of law. ...............................19
                   7.         The Third-Party Plaintiffs’ allegations do not support exemplary
                              damages......................................................................................................20
V.       CONCLUSION ..................................................................................................................21




THIRD-PARTY DEFENDANT BJORN THELANDER’S MOTION TO DISMISS THIRD-PARTY CLAIMS PURSUANT TO
RULES 12(B)(2) & 12(B)(6) & BRIEF IN SUPPORT – PAGE II
  Case 3:19-cv-00764-X Document 145 Filed 08/27/19                                            Page 3 of 29 PageID 3987


                                               TABLE OF AUTHORITIES


                                                                CASES

ACS Investors, Inc. v. McLaughlin,
  943 S.W.2d 426 (Tex. 1997)............................................................................................... 11, 13

Alma Grp., L.L.C. v. Palmer,
  143 S.W.3d 840 (Tex. App.—Corpus Christi 2004, pet. denied) ....................................... 18, 19

Amigo Broad., LP v. Spanish Broad. Sys., Inc.,
  521 F.3d 472 (5th Cir. 2008) .................................................................................................... 17

Ashcroft v. Iqbal,
  556 U.S. 662 (2009) .................................................................................................................... 5

Bell Atlantic Corp. v. Twombly,
  550 U.S. 544, 127 S.Ct. 1955, 167 L.Ed.2d 929 (2007) ............................................................. 5

Benningfield v. City of Houston,
  157 F.3d 369 (5th Cir. 1998) .................................................................................................... 11

Bluevine Capital, Inc. v. UEB Builders, Inc.,
  No. 3:17-CV-3265-L,2019 WL 142350 (N.D. Tex. Jan. 9, 2019) ............................................. 5

Bristol-Myers Squibb Co. v. Superior Court of California, San Francisco County,
  137 S. Ct. 1773, 198 L. Ed. 2d 395 (2017) ................................................................................. 7

Brown & Brown of Texas, Inc. v. Omni Metals, Inc.,
  317 S.W.3d 361, 399 (Tex. App.—Houston [1st Dist.] 2010, pet. denied).............................. 18

Campbell v. Wells Fargo Bank, N.A.,
  781 F.2d 440 (5th Cir. 1986) .................................................................................................... 18

Celanese Corp. v. OneBeacon Am. Ins. Co., 3:15-CV-03822-N,
  2016 WL 6496354 (N.D. Tex. May 20, 2016) ......................................................................... 11

Cent. Sav. & Loan Ass’n v. Stemmons Nw. Bank, N.A.,
  848 S.W.2d 232 (Tex. App.—Dallas 1992, no writ) ................................................................ 11

Community Health Sys. Prof’l Servs. v. Hansen,
  525 S.W.3d 671 (Tex. 2017)................................................................................... 10, 11, 12, 19

Cypress Engine Accessories, LLC v. HDMS Ltd. Co.,
  283 F. Supp. 3d 580 (S.D. Tex. 2017) ...................................................................................... 14

Daimler AG v. Bauman,
  571 U.S. 117 (2014) .................................................................................................................... 7

THIRD-PARTY DEFENDANT BJORN THELANDER’S MOTION TO DISMISS THIRD-PARTY CLAIMS PURSUANT TO
RULES 12(B)(2) & 12(B)(6) & BRIEF IN SUPPORT – PAGE III
  Case 3:19-cv-00764-X Document 145 Filed 08/27/19                                         Page 4 of 29 PageID 3988


Davis v. Hyd-Pro, Inc.,
  839 S.W.2d 137 (Tex. App.—Eastland 1992, writ denied) ...................................................... 17

Delgado v. Methodist Hosp.,
  936 S.W.2d 479 (Tex. App.—Houston [14th Dist.] 1996, no pet.) .......................................... 15

Devries v. Bulldog Well Testing LLC,
  7:16-CV-00338, 2017 WL 1134318 (S.D. Tex. Mar. 27, 2017) ................................................ 8

Ed Rachal Found. v. D’Unger,
  117 S.W.3d 348 (Tex. App.—Corpus Christi 2003), rev’d in part on other grounds,
  207 S.W.3d 330 (Tex. 2006)..................................................................................................... 19

Fitness Evolution, L.P. v. Headhunter Fitness, L.L.C.,
  No. 05-13-00506-CV, 2015 WL 6750047 (Tex. App.—Dallas Nov. 4, 2015, no pet.) ........... 17

Freudensprung v. Offshore Technical Services, Inc.,
  379 F.3d 327 (5th Cir. 2004) ...................................................................................................... 7

Gen. Retail Services, Inc. v. Wireless Toyz Franchise, LLC,
  255 Fed. App’x 775 & n.76 (5th Cir. 2007) ............................................................................... 8

Gibson v. Cuellar,
  440 S.W.3d 150 (Tex. App.–Houston [14th Dist.] 2013, no pet.) ............................................ 20

Gregory v. Dillard's, Inc.,
  565 F.3d 464 (8th Cir. 2009) ...................................................................................................... 9

Guidry v. American Pub. Life Ins. Co.,
  512 F.3d 177 (5th Cir. 2007) ...................................................................................................... 5

Gurganus v. Furniss,
  3:15-CV-03964-M, 2016 WL 3745684 (N.D. Tex. July 13, 2016) .......................................... 21

Hambric Sports Mgmt., LLC v. Team AK, Inc.,
  3:09-CV-1662-L, 2010 WL 2605243 (N.D. Tex. June 29, 2010) ............................................ 17

Hamlett v. Holcomb,
  69 S.W.3d 816 (Tex. App.—Corpus Christi 2002, no pet.) ..................................................... 15

Helping Hands Home Care, Inc. v. Home Health of Tarrant Cnty., Inc.,
  393 S.W.3d 492 (Tex. App.–Dallas 2013, pet. denied) ............................................................ 20

Holland v. Wal-Mart Stores, Inc.,
  1 S.W.3d 91 (Tex. 1999)........................................................................................................... 19

Holloway v. Skinner,
  898 S.W.2d 793 (Tex. 1995)............................................................................................... 10, 11


THIRD-PARTY DEFENDANT BJORN THELANDER’S MOTION TO DISMISS THIRD-PARTY CLAIMS PURSUANT TO
RULES 12(B)(2) & 12(B)(6) & BRIEF IN SUPPORT – PAGE IV
  Case 3:19-cv-00764-X Document 145 Filed 08/27/19                                         Page 5 of 29 PageID 3989


Immobiliere Jeuness Establissement v. Amegy Bank,
  525 S.W.3d 875 (Tex. App.—Houston [14th Dist.] 2017, no pet.) .......................................... 17

Jacked Up, L.L.C. v. Sara Lee Corp.,
  854 F.3d 797 (5th Cir. 2017) ...................................................................................................... 9

Jim Howe Homes, Inc. v. Rogers,
  818 S.W.2d 901 (Tex. App.–Austin 1991, no writ).................................................................. 20

John Paul Mitchell Sys. v. Randalls Food Markets, Inc.,
  17 S.W.3d 721 (Tex. App.—Austin 2000, pet. denied ............................................................. 13

Lopez v. Munoz, Hockema & Reed, L.L.P.,
  22 S.W.3d 857 (Tex. 2000)....................................................................................................... 15

Martin–Simon v. Womack,
 68 S.W.3d 793 (Tex. App.—Houston [14th Dist.] 2001, pet. denied) ..................................... 19

Merritt Hawkins & Associates, L.L.C. v. Gresham,
 861 F.3d 143, 151 (5th Cir. 2017) ............................................................................................ 21

Mitchell v. Am. Eagle Airlines, Inc.,
  2016 WL 4203826 (M.D. La. Aug. 5, 2016) .............................................................................. 3

Mumfrey v. CVS Pharmacy, Inc.,
 719 F.3d 392 (5th Cir. 2013) .............................................................................................. 12, 13

My Fabric Designs, Inc. v. F+W Media, Inc.,
 3:17-CV-2112-L, 2018 WL 1138436 (N.D. Tex. Mar. 2, 2018) .................................... 4, 5, 6, 7

Nat’l Prop. Holdings, L.P. v. Westergren,
  453 S.W.3d 419 (Tex. 2015)..................................................................................................... 14

Note Inv. Grp., Inc. v. Assocs. First Capital Corp.,
  476 S.W.3d 463 (Tex. App.—Beaumont 2015, no pet.) .......................................................... 20

Outlaw Lab., LP v. Shenoor Enter., Inc.,
  371 F. Supp. 3d 355 (N.D. Tex. 2019) ..................................................................................... 21

Powell Indus. v. Allen,
  985 S.W.2d 455 (Tex. 1998)............................................................................................... 12, 13

Prudential Ins. Co. of Am. v. Fin. Review Servs., Inc.,
  29 S.W.3d 74 (Tex. 2000)........................................................................................................... 9

Reliable Consultants, Inc. v. Earle,
  517 F.3d 738 (5th Cir. 2008) ...................................................................................................... 5



THIRD-PARTY DEFENDANT BJORN THELANDER’S MOTION TO DISMISS THIRD-PARTY CLAIMS PURSUANT TO
RULES 12(B)(2) & 12(B)(6) & BRIEF IN SUPPORT – PAGE V
  Case 3:19-cv-00764-X Document 145 Filed 08/27/19                                                Page 6 of 29 PageID 3990


Rush v. Savchuk,
  444 U.S. 320 (1980) .................................................................................................................... 8

Safeshred, Inc. v. Martinez,
  365 S.W.3d 655 (Tex. 2012)............................................................................................... 20, 21

Tellabs, Inc. v. Makor Issues & Rights, Ltd.,
  551 U.S. 308 (2007) .................................................................................................................... 3

Turner v. Turner,
  385 S.W.2d 230, 234 (Tex. 1964)............................................................................................. 18

Williams v. Compressor Eng’g Corp.,
  704 S.W.2d 469 (Tex. App.—Houston [14th Dist.] 1986, writ ref’d n.r.e.) ............................ 18

                                                               STATUTES

TEX. CIV. PRAC. & REM. CODE § 38.001 .................................................................................. 4, 19

TEX. CIV. PRAC. & REM. CODE § 38.002 ...................................................................................... 20

TEX. CIV. PRAC. & REM. CODE § 41.001(11) ................................................................................ 20

TEX. CIV. PRAC. & REM. CODE § 41.001(7) .................................................................................. 20

TEX. CIV. PRAC. & REM. CODE § 41.003(a) .................................................................................. 20

                                                                  RULES

FED. R. CIV. P. 12(b)(2) ................................................................................................ 1, 4, 6, 9, 21

FED. R. CIV. P. 12(b)(6) .................................................................................................... 1, 3, 5, 21

Fed. R. Civ. P. 8 ............................................................................................................................ 21

Local Rule 5 .................................................................................................................................. 23




THIRD-PARTY DEFENDANT BJORN THELANDER’S MOTION TO DISMISS THIRD-PARTY CLAIMS PURSUANT TO
RULES 12(B)(2) & 12(B)(6) & BRIEF IN SUPPORT – PAGE VI
 Case 3:19-cv-00764-X Document 145 Filed 08/27/19                     Page 7 of 29 PageID 3991


        Pursuant to Federal Rules of Civil Procedure 12(b)(2) and 12(b)(6), Third-Party Defendant

Bjorn Thelander (“Thelander”) files this Motion and Brief in Support of his Motion to Dismiss

the Third-Party Claims (Dkt. 66) brought by Defendants Leslie A. Wulf (“Wulf”), Bruce A. Hall

(“Hall”), James Rea (“James Rea”), and John (Ted) Rea (“Ted Rea”) (collectively, “Third-Party

Plaintiffs”) for lack of personal jurisdiction and failure to state a claim. See FED. R. CIV. P.

12(b)(2),(6).

                                     I.        INTRODUCTION

        The Court should dismiss the Third-Party Plaintiffs’ tortious interference with a contract

claims against Thelander for (i) lack of personal jurisdiction under Rule 12(b)(2) and (ii) failure to

state a claim under Rule 12(b)(6).        First, the Third-Party Plaintiffs’ conclusory and vague

allegations are insufficient to establish a prima facie case of personal jurisdiction over Thelander.

Second, the Third-Party Plaintiffs fail to allege sufficient facts for each essential element of a claim

for tortious interference with a contract. Specifically, the Third-Party Plaintiffs fail to allege that

Thelander—who was at all relevant times a director of VBF—acted completely outside the

interests of VBF, as required for a corporate agent to be legally able to interfere, or that Thelander

actively persuaded VBF to breach the Termination Agreements. Moreover, the Third-Party

Plaintiffs have not alleged sufficient facts to demonstrate that there was an underlying breach or

interference with a contract that would support their tortious interference claims. The allegations

as to Counts 1, 2, and 4 specifically establish that VBF had a contractual right to take the actions

it did. Additionally, any potential claims or remedies against VBF for its actions or alleged

breaches were discharged, released, and enjoined by the VBF Reorganization Plan; therefore, there

is no underlying breach of contract claim to support the Third-Party Plaintiffs’ tortious interference

claims. Furthermore, the damages alleged by the Third-Party Plaintiffs for Counts 1 and 2 are not



THIRD-PARTY DEFENDANT BJORN THELANDER’S MOTION TO DISMISS THIRD-PARTY CLAIMS PURSUANT TO
RULES 12(B)(2) & 12(B)(6) & BRIEF IN SUPPORT – PAGE 1
  Case 3:19-cv-00764-X Document 145 Filed 08/27/19                             Page 8 of 29 PageID 3992


recoverable as a matter of law. Finally, the Third-Party Plaintiffs’ claims for attorney’s fees and

exemplary damages are fail as a matter of law.

                        II.         FACTUAL AND PROCEDURAL BACKGROUND

         In 2014, the Third-Party Plaintiffs founded Plaintiff VeroBlue Farms USA, Inc. (“VBF”),

a sustainable fish farm. The Third-Party Plaintiffs served as directors, officers, and employees of

VBF from its founding in 2014 through the termination of their employment and removal as

officers and directors in late 2017 and early 2018. Specifically, (1) VBF terminated its business

relationship with Hall and Ted Rea on October 27, 2017, and each signed a Business Relationship

Termination Agreement (Dkt. 66-1, Exs. C & D); (2) VBF terminated its business relationship

with Wulf on December 1, 2017, and he signed a Separation Agreement (Dkt. 66-1, Ex. B); and

(3) VBF terminated its business relationship with James Rea on January 8, 2018 for “Egregious

Cause” pursuant to his Employment Agreement (Dkt. 66, Ex. A). (These agreements signed by

the Third-Party Plaintiffs are collectively referred to as the “Termination Agreements.”)

         Following the removal and discharge of the last of the Third-Party Plaintiffs in

January 2018, VBF discovered that the Third-Party Plaintiffs misappropriated and misused

millions of dollars in corporate assets and knowingly misrepresented VBF’s operations,

technology, and finances. (See Dkt. 9, Am. Compl. ¶¶ 13-42). In July 2018, VBF filed the instant

lawsuit against the Third-Party Plaintiffs, asserting claims for breach of fiduciary duty, fraudulent

concealment, fraudulent misrepresentation, constructive fraud, civil conspiracy, aiding and

abetting, unjust enrichment, equitable accounting, and a declaratory judgment. 1




         1
           VBF has a pending Motion for Leave to Amend its Amended Complaint [Dkt. 102], seeking to add
additional claims against the Third-Party Plaintiffs for fraudulent transfer, restitution, violations of the Racketeer
Influenced and Corrupt Organizations Act, and rescission of the Termination Agreements that are the basis of the
allegations in the Third-Party Claims.


THIRD-PARTY DEFENDANT BJORN THELANDER’S MOTION TO DISMISS THIRD-PARTY CLAIMS PURSUANT TO
RULES 12(B)(2) & 12(B)(6) & BRIEF IN SUPPORT – PAGE 2
  Case 3:19-cv-00764-X Document 145 Filed 08/27/19                             Page 9 of 29 PageID 3993


         As a result of the misdeeds of the Third-Party Plaintiffs, VBF also filed for bankruptcy

under Chapter 11 (the “VBF Bankruptcy”). See In re VeroBlue Farms USA, Inc. et al., No. 18-

01297 (Bankr. N.D. Iowa, filed Sept. 21, 2018) (“VBF Bankr.”). The U.S. Bankruptcy Court for

the Northern District of Iowa (the “Bankruptcy Court”) confirmed the Amended Joint Chapter

11 Plan of Reorganization of VeroBlue Farms USA, Inc. and Its Affiliated Debtors (the “VBF

Reorganization Plan”) and entered a final judgment on May 7, 2019, which became final on May

22, 2019. (Id. at Dkt. 515, 516). 2 The Third-Party Plaintiffs were parties-in-interest to the VBF

Bankruptcy, received notice of the proceedings, including those related to the confirmation, and

participated in the proceedings. (E.g., id. at Dkt. 411 (Notice of Attorney Appearance for Third-

Party Plaintiffs) 3; see also id. Dkt. 446, 466 (Objections to Confirmation of Plan by Third-Party

Plaintiffs)).

         On April 10, 2019, Third-Party Plaintiffs brought claims for tortious interference against

third parties Thelander, Norman McCowan, Eva Ebstein, Jens Haarkoetter, Anders Wester, Dr.

Otto Happel, and Alder Aqua, Ltd. (collectively, the “Third-Party Defendants”). The Third-

Party Defendants are current and former directors, officers, or shareholders of VBF. (Dkt. 66,

Third-Party Claims ¶¶ 3-9).            The Third-Party Plaintiffs assert the Third-Party Defendants



         2
          A true and correct copy of the Bankruptcy Court’s judgment (“Judgment”) is attached hereto as Exhibit 1.
A true and correct copy of the Bankruptcy Court’s confirmation order (“Order”), which includes a copy of the VBF
Reorganization Plan, is attached hereto as Exhibit 2. There were Amended and Restated Minor Modifications to the
VBF Reorganization Plan [Dkt. 511] incorporated into the Order and attached hereto as Exhibit 3.
         The Bankruptcy Court’s Order, Judgment, and VBF Reorganization Plan are appropriately considered with
this motion. Courts considering a motion to dismiss may rely on the allegations of the complaint “as well as other
sources courts ordinarily examine when ruling on )Rule 12(b)(6) motions to dismiss, in particular, documents
incorporated into the complaint by reference, and matters of which a court may take judicial notice,” such as VBF’s
bankruptcy filings. Tellabs, Inc. v. Makor Issues & Rights, Ltd., 551 U.S. 308, 322 (2007); see also Mitchell v. Am.
Eagle Airlines, Inc., CIVIL ACTION 15-757-SDD-RLB, 2016 WL 4203826, at *2 & n.28 (M.D. La. Aug. 5, 2016)
(taking judicial notice of defendant’s bankruptcy filings).
        3
          A true and correct copy of the Notice of Appearance and Request for Service is attached hereto as Exhibit 4.
This Notice is also appropriately considered for this motion. See n.3.


THIRD-PARTY DEFENDANT BJORN THELANDER’S MOTION TO DISMISS THIRD-PARTY CLAIMS PURSUANT TO
RULES 12(B)(2) & 12(B)(6) & BRIEF IN SUPPORT – PAGE 3
 Case 3:19-cv-00764-X Document 145 Filed 08/27/19                  Page 10 of 29 PageID 3994


tortiously interfered with the Termination Agreements by allegedly inducing VBF to (1) file suit

against Hall and Ted Rea, allegedly in violation of the releases in their respective Termination

Agreements (Dkt. 66, Third-Party Claims ¶¶ 58, 66); (2) refuse to pay Wulf severance payments

allegedly due to him under the Separation Agreement (Id. ¶ 77); and (3) terminate James Rea based

on an allegedly false claim of “Egregious Cause,” and refuse to pay him amounts allegedly due

under the Employment Agreement. (Id. ¶ 87). Ted Rea and Hall each claim damages “in an

amount of expense he has incurred in defending against claims brought against him by VBF in

violation of the release,” and seek punitive damages and attorneys’ fees (pursuant to Section 7(i)

of their Termination Agreements). (Id. ¶¶ 61-63, 70-72). Wulf seeks damages, punitive damages,

and attorneys’ fees (pursuant to Section 7(i) of the Separation Agreement). (Id. ¶¶ 81-83). James

Rea seeks damages, punitive damages, and attorneys’ fees (pursuant to Section 38.001 of the Texas

Civil Practice and Remedies Code). (Id. ¶¶ 90-92). The claims brought by the Third-Party

Plaintiffs are collectively referred to as the “Third-Party Claims.” The Third-Party Plaintiffs are

simply attempting an end-run around what they know they cannot do—sue VBF for breach of

contract—both because VBF did not breach any contract and also due to the VBF Bankruptcy Plan

resulting from Third-Party Plaintiffs’ own conduct.

                          III.       RELEVANT LEGAL STANDARDS

A.     Rule 12(b)(2) Motion to Dismiss Standard

       Federal Rule of Civil Procedure 12(b)(2) authorizes a district court to dismiss an action for

lack of personal jurisdiction. FED. R. CIV. P. 12(b)(2). “On a motion to dismiss for lack of personal

jurisdiction, the plaintiff bears the burden of establishing a prima facie case for the court’s

jurisdiction over a nonresident defendant.” My Fabric Designs, Inc. v. F+W Media, Inc., 3:17-

CV-2112-L, 2018 WL 1138436, at *3 (N.D. Tex. Mar. 2, 2018) (Lindsay, J.) (citations omitted).



THIRD-PARTY DEFENDANT BJORN THELANDER’S MOTION TO DISMISS THIRD-PARTY CLAIMS PURSUANT TO
RULES 12(B)(2) & 12(B)(6) & BRIEF IN SUPPORT – PAGE 4
 Case 3:19-cv-00764-X Document 145 Filed 08/27/19                   Page 11 of 29 PageID 3995


A plaintiff satisfies his burden by “presenting a prima facie case that personal jurisdiction is

proper.” See id. (citations omitted). “[T]he court, however, is not required to credit conclusory

allegations even if they are uncontroverted.” Id. (citations omitted).

B.     Rule 12(b)(6) Motion to Dismiss Standard

       “To defeat a motion to dismiss filed pursuant to )Rule 12(b)(6) of the Federal Rules of

Civil Procedure, a plaintiff must plead ‘enough facts to state a claim to relief that is plausible on

its face.’” Bluevine Capital, Inc. v. UEB Builders, Inc., 3:17-CV-3265-L, 2019 WL 142350, at *1–

2 (N.D. Tex. Jan. 9, 2019) (Lindsay, J.) (quoting Bell Atlantic Corp. v. Twombly, 550 U.S. 544,

570 (2007); Reliable Consultants, Inc. v. Earle, 517 F.3d 738, 742 (5th Cir. 2008); Guidry v.

American Pub. Life Ins. Co., 512 F.3d 177, 180 (5th Cir. 2007)). “A claim meets the plausibility

test when the plaintiff pleads factual content that allows the court to draw the reasonable inference

that the defendant is liable for the misconduct alleged. The plausibility standard is not akin to a

probability requirement, but it asks for more than a sheer possibility that a defendant has acted

unlawfully.” Id. (quoting Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (internal citations omitted).

“While a complaint need not contain detailed factual allegations, it must set forth ‘more than labels

and conclusions, and a formulaic recitation of the elements of a cause of action will not do.’” Id.

(quoting Twombly, 550 U.S. at 555). “The factual allegations of a complaint must be enough to

raise a right to relief above the speculative level . . . on the assumption that all the allegations in

the complaint are true (even if doubtful in fact).” Id. (quotation marks, internal brackets, and

citations omitted). “When the allegations of the pleading do not allow the court to infer more than

the mere possibility of wrongdoing, they fall short of showing that the pleader is entitled to relief.”

Id. (citing Iqbal, 556 U.S. at 679).




THIRD-PARTY DEFENDANT BJORN THELANDER’S MOTION TO DISMISS THIRD-PARTY CLAIMS PURSUANT TO
RULES 12(B)(2) & 12(B)(6) & BRIEF IN SUPPORT – PAGE 5
 Case 3:19-cv-00764-X Document 145 Filed 08/27/19                  Page 12 of 29 PageID 3996


                          IV.        ARGUMENTS AND AUTHORITIES

A.     The Court lacks personal jurisdiction over Thelander.

       Because Third-Party Plaintiffs have not established either general or specific personal

jurisdiction over Thelander in this case, the Court should grant Thelander’s motion to dismiss for

lack of personal jurisdiction under Rule 12(b)(2).

       “A federal court has jurisdiction over a nonresident defendant if the state long-arm statute

confers personal jurisdiction over that defendant, and if the exercise of jurisdiction is consistent

with due process under the United States Constitution.” My Fabric Designs, 2018 WL 1138436,

at *3 (citation omitted). “Because the Texas long-arm statute extends to the limits of federal due

process, the court must determine whether (1) the defendants have established ‘minimum contacts’

with the forum state; and, (2) whether the exercise of personal jurisdiction over the defendants

would offend ‘traditional notions of fair play and substantial justice.’” Id. (citations omitted).

       “The ‘minimum contacts’ prong is satisfied when a defendant ‘purposefully avails itself of

the privilege of conducting activities within the forum state, thus invoking the benefits and

protections of its laws.’” Id. at *4 (citation omitted). “The nonresident defendant’s availment

must be such that the defendant ‘should reasonably anticipate being haled into court’ in the forum

state.” Id. (citation omitted). “The ‘minimum contacts’ prong of the inquiry may be subdivided

into contacts that give rise to ‘specific’ personal jurisdiction and those that give rise to ‘general’

personal jurisdiction.” Id. (citation omitted). “Specific jurisdiction is only appropriate when the

nonresident defendant’s contacts with the forum state arise from, or are directly related to, the

cause of action.” Id. (citation omitted). “The inquiry whether a forum State may assert specific

jurisdiction over a nonresident defendant focuses on the relationship among the defendant, the

forum, and the litigation.” Id. (citations and quotation marks omitted). “For a State to exercise

jurisdiction consistent with due process, the defendant’s suit-related conduct must create a

THIRD-PARTY DEFENDANT BJORN THELANDER’S MOTION TO DISMISS THIRD-PARTY CLAIMS PURSUANT TO
RULES 12(B)(2) & 12(B)(6) & BRIEF IN SUPPORT – PAGE 6
 Case 3:19-cv-00764-X Document 145 Filed 08/27/19                 Page 13 of 29 PageID 3997


substantial connection with the forum State.” Id. (citation and quotation marks omitted). “The

exercise of general personal jurisdiction is proper when the nonresident defendant’s contacts with

the forum state, even if unrelated to the cause of action, are continuous, systematic, and

substantial.” Id.




       General jurisdiction exists where the defendant “has engaged in continuous and systematic

contacts   in   the   forum.”      Freudensprung      v.   Offshore   Technical    Services,   Inc.,

379 F.3d 327, 343 (5th Cir. 2004). The United States Supreme Court has determined that, for

general jurisdiction to exist, a defendant’s contacts must be so continuous “as to render [the

defendant] essentially at home in the forum.” Daimler AG v. Bauman, 571 U.S. 117, 127 (2014)

(emphasis added). “For an individual, the paradigm forum for the exercise of general jurisdiction

is the individual’s domicile.” Bristol-Myers Squibb Co. v. Superior Court of California, San

Francisco County, 137 S. Ct. 1773, 1780, 198 L. Ed. 2d 395 (2017).

       Third-Party Plaintiffs do not allege that Thelander is domiciled in Texas, or even the United

States. Instead, they allege only that “Thelander is a Swiss national” [Dkt. 66 ¶ 5], which alone is

wholly insufficient to establish general jurisdiction over Thelander. The Third-Party Plaintiffs do

not assert any other allegations to show that Thelander’s contacts with Texas are so continuous so

as to render him “essentially at home” in Texas. Accordingly, this Court lacks general jurisdiction

over Thelander.




       Nor have Third-Party Plaintiffs established specific jurisdiction over Thelander. In this

case, Third-Party Plaintiffs do not specifically allege any individual contacts that Thelander has



THIRD-PARTY DEFENDANT BJORN THELANDER’S MOTION TO DISMISS THIRD-PARTY CLAIMS PURSUANT TO
RULES 12(B)(2) & 12(B)(6) & BRIEF IN SUPPORT – PAGE 7
 Case 3:19-cv-00764-X Document 145 Filed 08/27/19                    Page 14 of 29 PageID 3998


with Texas that give rise to this lawsuit. Instead, Third-Party Plaintiffs make the conclusory and

vague allegation that “[t]his Court has personal jurisdiction over VBF and the Alder Defendants

as they conducted business in, entered into contracts in, and committed torts within the state of

Texas and the specifically within the Northern District of Texas.” (Dkt. 66 ¶ 12). This allegation

is insufficient to establish specific jurisdiction over Thelander.

       Third-Party Plaintiffs cannot rely on group pleading to establish jurisdiction over

Thelander. Indeed, courts have held that such group pleading tactics are insufficient to establish

specific personal jurisdiction:

       These allegations, employing the globular ‘Defendants,’ are both conclusory and
       leave unclear who committed the acts in question. . . . The Fifth Circuit and U.S.
       Supreme Court do not permit indiscriminate jurisdictional allegations to support a
       finding of personal jurisdiction. Accordingly, the allegations listed above are
       properly ignored for purposes of this Court’s personal jurisdiction analysis. When
       these allegations are ignored, there exist no contacts upon which Defendants could
       reasonably anticipate being haled into Texas court. Thus, Plaintiffs have not
       established a prima facie case that this Court has specific personal jurisdiction over
       Defendants Hamlin, Highfill, and Miller.

Devries v. Bulldog Well Testing LLC, 7:16-CV-00338, 2017 WL 1134318, at *5 (S.D. Tex.

Mar. 27, 2017) (citing Gen. Retail Services, Inc. v. Wireless Toyz Franchise, LLC, 255 Fed. App’x

775, 795 & n.76 (5th Cir. 2007) and Rush v. Savchuk, 444 U.S. 320, 332–33 (1980) (holding that

aggregating the defendant into a collective of “defending parties” did not satisfy federal due

process)).

       Here, Third-Party Plaintiffs have defined six individuals and one entity collectively as the

group “Alder Defendants,” and the only personal jurisdiction allegation in the Third-Party Claims

refers to the entire group of Alder Defendants with no specific allegations of forum contacts for

any individual or entity, including Thelander. (Dkt. 66 ¶ 12). The only reference to Thelander’s

contacts at all states that he “visited VBF and met with Founder Plaintiffs in Webster City, Iowa



THIRD-PARTY DEFENDANT BJORN THELANDER’S MOTION TO DISMISS THIRD-PARTY CLAIMS PURSUANT TO
RULES 12(B)(2) & 12(B)(6) & BRIEF IN SUPPORT – PAGE 8
 Case 3:19-cv-00764-X Document 145 Filed 08/27/19                    Page 15 of 29 PageID 3999


and/or Dallas, Texas.” (Dkt. 66 ¶ 18) (emphasis added). This allegation including the use of the

language “and/or” does not suffice to allege that Thelander was ever actually in Texas, let alone

allege contacts sufficient to establish jurisdiction. See, e.g., Gregory v. Dillard's, Inc., 565 F.3d

464, 473 n.9 (8th Cir. 2009) (“Because this section [of the complaint on “jurisdiction and venue”]

refers to all plaintiffs and uses the “and/or” formulation, it does not connect any particular plaintiff

to any particular allegation.”). Third-Party Plaintiffs’ allegations should be found insufficient to

establish personal jurisdiction over Thelander due to their lack of specificity and certainness as

well as their impermissible attempt to aggregate the alleged forum contacts of multiple defendants

to assert specific jurisdiction over any single defendant through group pleading.

       The Third-Party Claims should be dismissed pursuant to Rule 12(b)(2) because the Court

lacks personal jurisdiction over Thelander.

B.     The Third-Party Plaintiffs fail to allege sufficient facts to state a tortious-interference
       claim.

       The Third-Party Plaintiffs assert four counts of tortious interference: Count 1, Tortious

Interference with Hall Termination Agreement; Count 2, Tortious Interference with Ted Rea’s

Termination Agreement; Count 3, Tortious Interference with Wulf’s Separation Agreement; and

Count 4, Tortious Interference with James Rea’s Employment Agreement. To state a claim for

tortious interference with an existing contract under Texas law, the Third-Party Plaintiffs must

allege that there was “(1) an existing contract subject to interference and (2) a willful and

intentional act of interference with the contract (3) that proximately caused the plaintiff’s injury

and (4) caused actual damages or loss.” Jacked Up, L.L.C. v. Sara Lee Corp., 854 F.3d 797, 813

(5th Cir. 2017) (quoting Prudential Ins. Co. of Am. v. Fin. Review Servs., Inc., 29 S.W.3d 74, 77

(Tex. 2000)) (internal quotation marks omitted); Community Health Sys. Prof’l Servs. v. Hansen,

525 S.W.3d 671, 689 (Tex. 2017).


THIRD-PARTY DEFENDANT BJORN THELANDER’S MOTION TO DISMISS THIRD-PARTY CLAIMS PURSUANT TO
RULES 12(B)(2) & 12(B)(6) & BRIEF IN SUPPORT – PAGE 9
 Case 3:19-cv-00764-X Document 145 Filed 08/27/19                   Page 16 of 29 PageID 4000


       The Third-Party Claims against Thelander fail as a matter of law and should be dismissed

for four independent reasons. First, with respect to Counts 1-4, the Third-Party Plaintiffs fail to

allege that Thelander—who was undisputedly at all relevant times a corporate agent of VBF—

interfered with any of VBF’s contracts with the Third-Party Plaintiffs to serve his own personal

interests at VBF’s expense. Second, the Third-Party Plaintiffs do not allege sufficient facts to

demonstrate that Thelander induced VBF to breach its contracts with the Third-Party Plaintiffs

because with respect to Counts 1, 2, and 4, VBF was merely exercising its rights under the

respective contracts. Third, regarding Counts 1-4, any potential underlying breach of contract

claims against VBF were discharged, released, and enjoined as part of the VBF Bankruptcy Plan.

Fourth, regarding Counts 1-4, the Third-Party Plaintiffs fail to allege sufficient facts that would

demonstrate Thelander actively persuaded VBF to breach its contract with any Third-Party

Plaintiff. Fifth, with respect to Counts 1 and 2, the Third-Party Plaintiffs fail to allege recoverable

damages by Ted Rea or Hall. Finally, regarding Counts 1-4, there is no basis for recovery of

attorneys’ fees by the Third-Party Plaintiffs as a matter of law.




       To plead the willful and intentional interference element of a tortious-interference claim,

the Third-Party Plaintiffs must show that Thelander was “legally capable of tortious

interference.” Hansen, 525 S.W.3d at 690 (citing Holloway v. Skinner, 898 S.W.2d 793, 795–96

(Tex. 1995)). To be legally capable of tortious interference, Thelander must be a “stranger to the

contract” with which he allegedly interfered. Id. at 690 (citation omitted). Because corporations

can act only through human agents, the general rule is that “the actions of a corporate agent on

behalf of the corporation are deemed the corporation’s acts.” Skinner, 898 S.W.2d at 795 (citations

omitted). “For this reason, [the Supreme Court of Texas] ha[s] held that ‘an officer or director of


THIRD-PARTY DEFENDANT BJORN THELANDER’S MOTION TO DISMISS THIRD-PARTY CLAIMS PURSUANT TO
RULES 12(B)(2) & 12(B)(6) & BRIEF IN SUPPORT – PAGE 10
 Case 3:19-cv-00764-X Document 145 Filed 08/27/19                              Page 17 of 29 PageID 4001


a corporation may not be held liable in damages for inducing the corporation to violate a

contractual obligation, provided that the officer or director acts in good faith and believes that what

he does is for the best interest of the corporation.” Id. at 795 (citations omitted). “Even the officers

and directors of an ordinary corporation, while acting as such, are not personally liable even though

they recommend a breach of a valid contract.” Id. (citations and internal quotation marks omitted).

         Thus, a corporation’s agent is not a stranger to the contract and cannot tortiously interfere

with the corporation’s contract. Hansen, 525 S.W.3d at 690 (citing Holloway, 898 S.W.2d at 795-

96)). 4 When a corporate agent is accused of interfering with the corporation’s contract, it is the

claimant’s burden to show that the agent “‘acted in a fashion so contrary to the corporation’s best

interests that his actions could only have been motivated by personal interests,’ and thus could not

have been acting within the scope of his agency at the time of the interference.” Hansen, 525

S.W.3d at 691 (quoting Holloway 898 S.W.2d at 795-97)); see also Benningfield, 157 F.3d 369 at

379 (holding “[p]laintiffs failed to allege facts showing that the [d]efendants’ actions could only

have been motivated by personal interests”); ACS Investors, Inc. v. McLaughlin, 943 S.W.2d 426,

432 (Tex. 1997) (corporate officer or director cannot be held liable for interfering with

corporation’s contractual obligations as long as she is acting in good faith on corporation’s behalf).

As explained by the Fifth Circuit, “[t]he Texas Supreme Court has provided guidance on

determining when an corporation's agent is acting against the corporation’s interests: If a



         4
            See also Benningfield v. City of Houston, 157 F.3d 369, 379 (5th Cir. 1998) (“Generally, as agents of the
Defendant, the Defendants cannot be liable for interference with the city’s contracts.”) (citation omitted); Celanese
Corp. v. OneBeacon Am. Ins. Co., 3:15-CV-03822-N, 2016 WL 6496354, at *4 (N.D. Tex. May 20, 2016) (“Under
Texas law, the parties to an ongoing business relationship cannot interfere with their own relationship. In fact, ‘a
person must be a stranger to a contract to tortiously interfere with it.’ With very few exceptions, only a third party
who is an outsider to the business relationship can be liable for tortious interference. Because a corporation's agents
share its legal identity, corporate agents . . . generally cannot be held liable for tortious interference with their
principal's business relations.”) (internal citations omitted) (emphasis added); Cent. Sav. & Loan Ass’n v. Stemmons
Nw. Bank, N.A., 848 S.W.2d 232, 242 (Tex. App.—Dallas 1992, no writ) (“Where a . . . principal agent relationship
exists, there can be no tortious interference with a contract as a matter of law.”) (citation omitted).


THIRD-PARTY DEFENDANT BJORN THELANDER’S MOTION TO DISMISS THIRD-PARTY CLAIMS PURSUANT TO
RULES 12(B)(2) & 12(B)(6) & BRIEF IN SUPPORT – PAGE 11
 Case 3:19-cv-00764-X Document 145 Filed 08/27/19                 Page 18 of 29 PageID 4002


corporation does not complain about its agents actions, then the agent cannot be held to have acted

contrary to the corporation’s interests.” Mumfrey v. CVS Pharmacy, Inc., 719 F.3d 392, 403 (5th

Cir. 2013) (citing Powell Indus. v. Allen, 985 S.W.2d 455, 457 (Tex. 1998)); see also Hansen, 525

S.W.3d at 695 (“Additionally, because a principal is a superior judge of its own best interests, we

consider the principal’s evaluation of the agent’s actions when determining whether the corporate

agent acted against the principal’s interests. If the principal ‘does not complain about its agent’s

actions, then the agent cannot be held to have acted contrary to the corporation’s interests.’”)

(citations omitted).

       Here, it is undisputed and the allegations establish that VBF was a party to each of the

Termination Agreements and that Thelander acted an agent for VBF at all relevant times and thus,

was not a stranger to VBF’s contracts. (See Dkt. 66 at ¶ 5 (pleading Thelander “served on the

Board of Directors of [VBF] from July 8, 2016 though [sic] some time in 2018”); id. at ¶ 14

(“Thelander [was] appointed by Alder to the board of directors of VBF.”); id. at Exs. A-D

(showing VBF as a party to each contract)). Thus, Third-Party Plaintiffs must plead and prove

that Thelander acted so contrary to VBF’s interests that his actions could only have been motivated

by personal interest. Hansen, 525 S.W.3d at 694. Third-Party Plaintiffs, however, have not met

this burden. Indeed, the Third-Party Plaintiffs do not allege that Thelander acted in any way other

than in good faith on VBF’s behalf in relation to each of the Termination Agreements addressed

in Counts 1-4. Furthermore, the Third-Party Plaintiffs do not allege sufficient facts that would

demonstrate that Thelander acted willfully and intentionally to serve his own personal interests at

VBF’s expense in relation to any of the Termination Agreements. And, even if the Third-Party

Claims are construed to allege that Thelander sought to benefit himself (or Alder) and VBF, such

“mixed motives” are “insufficient to establish liability.” Powell Indus., 985 S.W.2d at 457; see



THIRD-PARTY DEFENDANT BJORN THELANDER’S MOTION TO DISMISS THIRD-PARTY CLAIMS PURSUANT TO
RULES 12(B)(2) & 12(B)(6) & BRIEF IN SUPPORT – PAGE 12
 Case 3:19-cv-00764-X Document 145 Filed 08/27/19                  Page 19 of 29 PageID 4003


also Mumfrey v. CVS Pharmacy, Inc., 719 F.3d 392, 403 (5th Cir. 2013) (“Even an agent’s mixed

motives—benefitting himself and the corporation—are insufficient.”). Finally, the Third-Party

Plaintiffs fail to allege facts that would show that VBF objected to any of Thelander’s actions as

an agent of VBF. Therefore, the Third-Party Plaintiffs fail to allege sufficient facts to demonstrate

that Thelander was acting contrary to VBF’s interests as a matter of law.

       Accordingly, the Third-Party Claims for tortious interference (Counts 1-4) are insufficient

as a matter of law and should be dismissed.



       To state a claim for tortious interference, the Third-Party Claims must include allegations

that Thelander’s conduct amounted to a knowing inducement to VBF to breach its contract with

each Third-Party Plaintiff. See John Paul Mitchell Sys. v. Randalls Food Markets, Inc., 17 S.W.3d

721, 730-31 (Tex. App.—Austin 2000, pet. denied). Inducing a third party to do what it has a

legal right to do does not constitute tortious interference. ACS Investors, 943 S.W.2d at 430. Here,

because the allegations themselves show that VBF was acting within its rights under the

Termination Agreements with Hall, Ted Rea, and James Rea, there is no claim for tortious

interference.

       The only inducement alleged by the Third-Party Plaintiffs related to the Termination

Agreements for Ted Rea and Hall (Counts 1 and 2) was for VBF to file this lawsuit against Ted

Rea and Hall. Even assuming these Termination Agreements are enforceable (they are not, as

explained in VBF’s Second Amended Complaint (Dkt. 102 at ¶¶ 309-352) and VBF’s Response

and Brief in Support to Defendant Keith Driver’s 12(b)(6) Motion to Dismiss (Dkt. 103 at 19-23)),

neither agreement prohibits VBF from bringing a lawsuit. There is no covenant not to sue in the

Termination Agreements. (See Dkt. 66, Exs. C, D). The sole basis for this claim by Ted Rea and



THIRD-PARTY DEFENDANT BJORN THELANDER’S MOTION TO DISMISS THIRD-PARTY CLAIMS PURSUANT TO
RULES 12(B)(2) & 12(B)(6) & BRIEF IN SUPPORT – PAGE 13
 Case 3:19-cv-00764-X Document 145 Filed 08/27/19                                Page 20 of 29 PageID 4004


Hall is the purported release provision in the Termination Agreements.                               But Texas law

distinguishes between releases (which are affirmative defenses that do not automatically bar later

claims) and covenants not to sue (which can bar later claims). See Cypress Engine Accessories,

LLC v. HDMS Ltd. Co., 283 F. Supp. 3d 580, 587-88 (S.D. Tex. 2017) (noting “[u]nder Texas law,

the court cannot imply a covenant not to sue on released claims from a settlement releasing those

claims,” as Texas Supreme Court precedent provides that “a release of a claim does not equate to

a covenant not to sue on that claim. The issue is whether the specific release language ‘includes a

contractual obligation not to sue.’”) (citation omitted); Nat’l Prop. Holdings, L.P. v. Westergren,

453 S.W.3d 419, 428–29 (Tex. 2015) (“Although the release provides an affirmative defense to

future suits, we cannot construe it as including a covenant not to sue where, in fact, the plain

language does not bar future suits.”). 5

         The only inducement alleged by the Third-Party Plaintiffs related to the Employment

Agreement for James Rea (Count 4) was for VBF to terminate James Rea for “Egregious Cause.”

But James Rea’s Employment Agreement provided VBF with the legal right to terminate his

employment for “Egregious Cause,” which it exercised. (See Dkt. 66 at Ex. A, §§ 5(c)(i)-(iii)

(“Employee’s employment hereunder may be terminated by the Company for Cause,” which

means “either Egregious Cause or Non-Egregious Cause.”)).

         Therefore, VBF was acting within its legal rights by bringing this lawsuit against Hall and

Ted Rea, and by terminating James Rea’s employment on a basis expressly permitted by his

Employment Agreement, and there was no breach that could have been induced by Thelander.



         5
          Moreover, any interpretation that the release could constitute a covenant not to sue contravenes other
provisions in the agreements that unambiguously demonstrate that the parties contemplated future litigation based on
the agreements. (E.g., Dkt. 66 at Ex. C, § 7(i) (“In the event it becomes necessary to bring suit to enforce any provision
of this Agreement…”); § 7(l) (“Each Party agrees to commence any action, suit or proceeding relating to this
Agreement in the District Court.”)).


THIRD-PARTY DEFENDANT BJORN THELANDER’S MOTION TO DISMISS THIRD-PARTY CLAIMS PURSUANT TO
RULES 12(B)(2) & 12(B)(6) & BRIEF IN SUPPORT – PAGE 14
 Case 3:19-cv-00764-X Document 145 Filed 08/27/19                 Page 21 of 29 PageID 4005


Accordingly, the tortious-interference claims at Counts 1, 2, and 4 are insufficient as a matter of

law and should be dismissed.



       Each tortious-interference claims at Counts 1-4 should be dismissed because the Third-

Party Claims are wholly derived from and dependent upon the Third-Party Plaintiffs’ allegations

that VBF breached their agreements. Any underlying breach claim against VBF, however, has

been discharged, released, and enjoined as a matter of law by the VBF Bankruptcy Plan. See, e.g.,

Delgado v. Methodist Hosp., 936 S.W.2d 479, 485–86 (Tex. App.—Houston [14th Dist.] 1996, no

pet.) (holding patient’s tortious-interference claim against doctors failed where patient waived any

claim for breach of contract against hospital); Hamlett v. Holcomb, 69 S.W.3d 816, 820 (Tex.

App.—Corpus Christi 2002, no pet.) (affirming dismissal of plaintiff’s tortious-interference claim

against one defendant because plaintiff’s tortious-interference claim was premised on the other

defendant’s breach, and the other defendant did not breach the contract with plaintiff) (citations

omitted); see also Lopez v. Munoz, Hockema & Reed, L.L.P., 22 S.W.3d 857, 862 (Tex. 2000)

(failure of a claim for breach of contract necessarily defeated claim for breach of fiduciary duty

that depended on breach of contract)).

       The Bankruptcy Court entered an order accepting and confirming the VBF Reorganization

Plan on May 7, 2019, which is now in effect. See Exs. 1 (Order confirming VBF Reorganization

Plan) & 2 (VBF Reorganization Plan). The VBF Reorganization Plan contains broad discharges

and releases for VBF as the Debtor. See Ex. 2, Plan, Art. 9.13 at 26. The Bankruptcy Court Order

and Judgment reiterate the enforceability of this release. Ex. 1, Judgment at ¶ 6; Ex. 2, Order at

18. Further, the VBF Reorganization Plan contains a broad injunction on claims based on Claims

or other debts or liabilities that were addressed by the VBF Reorganization Plan, which would



THIRD-PARTY DEFENDANT BJORN THELANDER’S MOTION TO DISMISS THIRD-PARTY CLAIMS PURSUANT TO
RULES 12(B)(2) & 12(B)(6) & BRIEF IN SUPPORT – PAGE 15
 Case 3:19-cv-00764-X Document 145 Filed 08/27/19                  Page 22 of 29 PageID 4006


include any claim for breach of contract against VBF by the Third-Party Plaintiffs. Ex. 2, Plan,

Art. 9.17 at 29.

       Here, the Third-Party Claims allege only that Thelander tortiously interfered in contracts

of VBF (the debtor) and took certain actions during his time as a director of VBF. To state a claim

that Thelander tortiously interfered with the contracts between VBF and the Third-Party Plaintiffs,

the Third-Party Plaintiffs must allege that he induced or caused a breached of such agreements.

Because the Third-Party Plaintiffs’ claims for VBF’s alleged breach of contract were released,

discharged, and enjoined by the VBF Reorganization Plan, the Third-Party Plaintiffs cannot

demonstrate the threshold breach of contract necessary to support their tortious interference claims.

Rather, in bringing claims against current officers and former directors of VBF based on alleged

breaches of contracts that can no longer be challenged under the VBF Reorganization Plan, the

Third-Party Plaintiffs are simply attempting an end-run around the Bankruptcy Court, which

enjoined such claims.

       Therefore, because any claims against VBF by the Third-Party Plaintiffs have now been

discharged, released, and enjoined, the Third-Party Claims for tortious interference (Counts 1-4)

are insufficient as a matter of law and should be dismissed.




       To state a claim for tortious interference, the Third-Party Plaintiffs must allege that

Thelander’s interference proximately caused their injury. Immobiliere Jeuness Establissement v.

Amegy Bank, 525 S.W.3d 875, 880 (Tex. App.—Houston [14th Dist.] 2017, no pet.). The

proximate-cause element requires allegations that Thelander took an active role in persuading VBF

to breach the Termination Agreements. See Hambric Sports Mgmt., LLC v. Team AK, Inc., 3:09-

CV-1662-L, 2010 WL 2605243, at *9 (N.D. Tex. June 29, 2010) (Lindsay, J.) (“To properly show


THIRD-PARTY DEFENDANT BJORN THELANDER’S MOTION TO DISMISS THIRD-PARTY CLAIMS PURSUANT TO
RULES 12(B)(2) & 12(B)(6) & BRIEF IN SUPPORT – PAGE 16
 Case 3:19-cv-00764-X Document 145 Filed 08/27/19                   Page 23 of 29 PageID 4007


proximate cause, a plaintiff must allege that ‘the defendant took an active part in persuading a

party to a contract to breach it.’”) (quoting Amigo Broad., LP v. Spanish Broad. Sys., Inc., 521

F.3d 472, 493 (5th Cir. 2008)); see also Fitness Evolution, L.P. v. Headhunter Fitness, L.L.C., No.

05-13-00506-CV, 2015 WL 6750047, at *24 (Tex. App.—Dallas Nov. 4, 2015, no pet.) (“It is

necessary that there be some act of interference or of persuading a party to breach, e.g., by offering

better terms or other incentives, for tort liability to arise.”); Davis v. Hyd-Pro, Inc., 839 S.W.2d

137, 139-40 (Tex. App.—Eastland 1992, writ denied)).

       Here, the Third-Party Plaintiffs fail to allege that Thelander took an active role in

persuading VBF to (1) file suit against Ted Rea or Hall; (2) terminate James Rea for cause; or (3)

refuse to pay Wulf or James Rea amounts allegedly due to them. At most, the Third-Party Claims

allege Thelander discussed with other board members “ways to avoid payments that might be due

to Wulf or the other Defendants” (E.g., Dkt. 66 ¶¶ 36) and make the conclusory allegation that

VBF took actions that were allegedly “consistent with” Thelander’s “communications” or

“directions.” (Dkt. 66 ¶ 42, 48). But there is not a single, factual allegation that Thelander actively

persuaded or specifically directed VBF to act. And, as the Fifth Circuit has instructed, it is not

“necessary or proper to assume that the plaintiffs can prove facts that they have not alleged.”

Campbell v. Wells Fargo Bank, N.A., 781 F.2d 440, 443 (5th Cir. 1986) (“It is not, however,

necessary or that the defendants violated the [law] in ways that have not been alleged.”).

       Therefore, Third-Party Plaintiffs have failed to allege that Thelander’s interference

proximately caused Third-Party Plaintiffs’ injury, and the Third-Party Claims for tortious

interference (Counts 1-4) are insufficient as a matter of law and should be dismissed.




THIRD-PARTY DEFENDANT BJORN THELANDER’S MOTION TO DISMISS THIRD-PARTY CLAIMS PURSUANT TO
RULES 12(B)(2) & 12(B)(6) & BRIEF IN SUPPORT – PAGE 17
 Case 3:19-cv-00764-X Document 145 Filed 08/27/19                  Page 24 of 29 PageID 4008




       The only alleged damage with respect to Counts 1 and 2 is the “amount of expense” that

Ted Rea and Hall have “incurred in defending against claims brought against [them] by VBF in

violation of the release.” (Dkt. 66 at ¶¶ 61, 70). Attorneys’ fees, however, generally “are in the

nature of costs, not damages” and cannot be awarded as damages for alleged tortious interference.

See Alma Grp., L.L.C. v. Palmer, 143 S.W.3d 840, 846 (Tex. App.—Corpus Christi 2004, pet.

denied) (reversing trial court award of attorneys’ fees as damages for tortious interference);

Williams v. Compressor Eng’g Corp., 704 S.W.2d 469, 474 (Tex. App.—Houston [14th Dist.]

1986, writ ref’d n.r.e.) (same). An exception to this general rule is that a plaintiff can recover

attorneys’ fees as damages “where a plaintiff has been involved in litigation with a third party as

a result of the tortious act of another, plaintiff may recover in a separate suit for his reasonable

and necessary expenses of the prior litigation.” Turner v. Turner, 385 S.W.2d 230, 234 (Tex.

1964). Here, the Third-Party Plaintiffs do not allege that the attorneys’ fees they seek to recover

were incurred in the prosecution or defense of a prior action, and the fees to which they refer are

those incurred in this litigation. They cannot recover attorneys’ fees through a cross-claim in the

same suit. Brown & Brown of Texas, Inc. v. Omni Metals, Inc., 317 S.W.3d 361, 399 (Tex. App.—

Houston [1st Dist.] 2010, pet. denied) (“Certain prerequisites must, however, be met. These

include: (1) the plaintiff must have incurred attorney’s fees in the prosecution or defense of a prior

action, and (2) the litigation must have involved a third party and must not have been brought

against the defendant in the same action in which the fees are sought.”).

       Therefore, Counts 1 and 2 fail to allege any actual damage or loss—an essential element

of their tortious-interference claims. Accordingly, Counts 1 and 2 are insufficient as a matter of

law and should be dismissed. See Hansen, 525 S.W.3d at 689.


THIRD-PARTY DEFENDANT BJORN THELANDER’S MOTION TO DISMISS THIRD-PARTY CLAIMS PURSUANT TO
RULES 12(B)(2) & 12(B)(6) & BRIEF IN SUPPORT – PAGE 18
 Case 3:19-cv-00764-X Document 145 Filed 08/27/19                   Page 25 of 29 PageID 4009




       In Counts 1, 2, and 3, Hall, Ted Rea, and Wulf seek attorneys’ fees pursuant to a provision

in their respective Termination Agreements. In Count 4, James Rea seeks attorneys’ fees pursuant

to Section 38.001 of the Texas Civil Practice and Remedies Code. (Id. ¶¶ 90-92). Section 38.001

provides eight different statutory grounds upon which a party may recover reasonable attorney’s

fees. James Rea, however, fails to plead which of the eight grounds under Section 38.001 serves

the basis for his claim for attorneys’ fees. In any event, no Third-Party Plaintiffs’ claim for

attorneys’ fees has any legal basis, and all should be dismissed.

       Under Texas law, litigants may recover attorneys’ fees only if authorized by statute or by

a contract between the parties. See, e.g., Holland v. Wal-Mart Stores, Inc., 1 S.W.3d 91, 95 (Tex.

1999) (citations omitted).     No statute authorizes recovery of attorneys’ fees for tortious

interference with a contract, including Chapter 38 of the Texas Civil Practice & Remedies Code.

See Alma Grp., LLC v. Palmer, 143 S.W.3d 840, 846 n.5 (Tex. App.—Corpus Christi 2004, pet.

denied) (“there is no statutory or contractual basis for recovery of attorney fees for a tortious-

interference claim.”) (citing Ed Rachal Found. v. D’Unger, 117 S.W.3d 348, 357 (Tex. App.—

Corpus Christi 2003), rev’d in part on other grounds, 207 S.W.3d 330 (Tex. 2006); Martin–Simon

v. Womack, 68 S.W.3d 793, 797 (Tex. App.—Houston [14th Dist.] 2001, pet. denied)). Moreover,

the Third-Party Plaintiffs do not allege the existence of a contract between themselves and

Thelander, which is required in order to recover attorneys’ fees pursuant to a contractual provision.

       Further, the Third-Party Plaintiffs do not allege sufficient facts to support prior presentment

of a claim for attorneys’ fees as required by Section 38.002. See TEX. CIV. PRAC. & REM. CODE

§ 38.002 (“To recover attorney’s fees under this chapter: … (2) the claimant must present the claim

to the opposing party…”); see also Gibson v. Cuellar, 440 S.W.3d 150, 157 (Tex. App.–Houston



THIRD-PARTY DEFENDANT BJORN THELANDER’S MOTION TO DISMISS THIRD-PARTY CLAIMS PURSUANT TO
RULES 12(B)(2) & 12(B)(6) & BRIEF IN SUPPORT – PAGE 19
 Case 3:19-cv-00764-X Document 145 Filed 08/27/19                  Page 26 of 29 PageID 4010


[14th Dist.] 2013, no pet.) (“The claimant bears the burden to plead and prove presentment of the

claim.”); Note Inv. Grp., Inc. v. Assocs. First Capital Corp., 476 S.W.3d 463, 485 (Tex. App.—

Beaumont 2015, no pet.) (“However, neither the filing of suit, nor the allegation of a demand in

the pleadings can, alone, constitute presentment of a claim or a demand that a claim be paid.”)

(citing Helping Hands Home Care, Inc. v. Home Health of Tarrant Cnty., Inc., 393 S.W.3d 492,

516 (Tex. App.–Dallas 2013, pet. denied); Jim Howe Homes, Inc. v. Rogers, 818 S.W.2d 901, 904

(Tex. App.–Austin 1991, no writ)). Therefore, the claims for attorneys’ fees in Count 1-4 should

be dismissed.



         To recover exemplary damages based on a claim of tortious interference, there must be

alleged harm that results from Thelander’s alleged fraud, malice, or gross negligence. See TEX.

CIV. PRAC. & REM. CODE § 41.003(a). In other words, the Third-Party Claims must allege facts

supporting that Thelander (1) specifically intended to cause substantial injury or harm to Third-

Party Plaintiffs; or (2) was consciously indifferent to the prospect of substantial injury to Third-

Party Plaintiffs. Id. §§ 41.001(7), (11). Importantly, allegations that arguably support the willful-

harm element of their tortious-interference claims “cannot also justify a punitive damages award.

More is required.” Safeshred, Inc. v. Martinez, 365 S.W.3d 655, 662 (Tex. 2012) (citations

omitted); see also Merritt Hawkins & Associates, L.L.C. v. Gresham, 861 F.3d 143, 151 (5th Cir.

2017).

         To state a claim for exemplary damages, Third-Party Plaintiffs must allege “something

independent and qualitatively different from the compensable harms associated with the cause of

action.” Id. (citation and quotations omitted). The Third-Party Claims fail to do so.




THIRD-PARTY DEFENDANT BJORN THELANDER’S MOTION TO DISMISS THIRD-PARTY CLAIMS PURSUANT TO
RULES 12(B)(2) & 12(B)(6) & BRIEF IN SUPPORT – PAGE 20
 Case 3:19-cv-00764-X Document 145 Filed 08/27/19                              Page 27 of 29 PageID 4011


         Here, the Third-Party Plaintiffs merely state that they seek exemplary damages based on

“the intentional, malicious and vindictive nature of the Alder Defendants’ conduct.” (Dkt. 66 ¶ 62

(Hall), ¶ 82 (Wulf), ¶ 91 (James Rea); see also id. ¶ 71 (Ted Rea) (noting that Ted Rea seeks

exemplary damages based on “the intentional, vexatious and vindictive nature of the Alder

Defendants’ conduct”). Beyond these conclusory and group allegations, there are no facts alleged

to support any award of exemplary damages against Thelander or any Third-Party Defendant. 6

Therefore, the claims for exemplary damages in Counts 1-4 should be dismissed.

                                           V.           CONCLUSION

         For the reasons set forth above, Third-Party Defendant Bjorn Thelander respectfully

requests that the Court dismiss the Third-Party Claims (Counts 1-4) pursuant to Federal Rules of

Civil Procedure 12(b)(2) and )12(b)(6). Thelander also requests all other relief to which he may

be entitled.




         6
            See e.g., Outlaw Lab., LP v. Shenoor Enter., Inc., 371 F. Supp. 3d 355, 369 (N.D. Tex. 2019) (“[T]o give
the requisite notice to each Defendant, Plaintiff needs to avoid improper ‘group pleading’ that does not distinguish the
conduct of the individual Defendants.”); Gurganus v. Furniss, 3:15-CV-03964-M, 2016 WL 3745684, at *5 (N.D.
Tex. July 13, 2016) (holding plaintiff’s “group pleading fails to meet the pleading requirements of Federal Rule of
Civil Procedure 8” and “makes it impossible to ascertain which particular Defendants(s) are supposedly responsible
for the acts allegedly creating the WARN Act violation”) (citations omitted).


THIRD-PARTY DEFENDANT BJORN THELANDER’S MOTION TO DISMISS THIRD-PARTY CLAIMS PURSUANT TO
RULES 12(B)(2) & 12(B)(6) & BRIEF IN SUPPORT – PAGE 21
Case 3:19-cv-00764-X Document 145 Filed 08/27/19              Page 28 of 29 PageID 4012


DATED: August 27, 2019                    Respectfully submitted,

                                          /s/ Nicole L. Williams

                                          Nicole L. Williams
                                          Texas Bar No. 24041784
                                          nicole.williams@tklaw.com

                                          William L. Banowsky
                                          Texas Bar No. 01697125
                                          bill.banowsky@tklaw.com

                                          Jasmine S. Wynton
                                          Texas Bar No. 24090481
                                          jasmine.wynton@tklaw.com

                                          THOMPSON & KNIGHT LLP
                                          One Arts Plaza
                                          1722 Routh Street, Suite 1500
                                          Dallas, Texas 75201
                                          (214) 969-1700
                                          (214) 969-1751 (facsimile)

                                          /s/ Robert H. Lang
                                          Robert H. Lang
                                          (appearing pro hac vice)
                                          rhlang@thompsoncoburn.com
                                          Patrick Morales-Doyle
                                          (appearing pro hac vice)
                                          pmoralesdoyle@thompsoncoburn.com
                                          Caroline Pritikin
                                          (appearing pro hac vice)
                                          cpritikin@thompsoncoburn.com
                                          Eileen E. Boyle Perich
                                          (appearing pro hac vice)
                                          eboyleperich@thompsoncoburn.com
                                          Adam C. Decker
                                          (appearing pro hac vice)
                                          adecker@thompsoncoburn.com

                                          THOMPSON COBURN LLP
                                          55 East Monroe, 37th Floor
                                          Chicago, Illinois 60603
                                          (312) 346-7500

                                          ATTORNEYS FOR THIRD-PARTY DEFENDANT
                                          BJORN THELANDER

THIRD-PARTY DEFENDANT BJORN THELANDER’S MOTION TO DISMISS THIRD-PARTY CLAIMS PURSUANT TO
RULES 12(B)(2) & 12(B)(6) & BRIEF IN SUPPORT – PAGE 22
Case 3:19-cv-00764-X Document 145 Filed 08/27/19               Page 29 of 29 PageID 4013


                               CERTIFICATE OF SERVICE

       This document was filed electronically on August 27, 2019, and, in compliance with Local
Civil Rule L.R. 5.1(d), a copy of this document has been served on all counsel of record.

                                                   /s/ Jasmine Wynton
                                                   Jasmine Wynton




THIRD-PARTY DEFENDANT BJORN THELANDER’S MOTION TO DISMISS THIRD-PARTY CLAIMS PURSUANT TO
RULES 12(B)(2) & 12(B)(6) & BRIEF IN SUPPORT – PAGE 23
